Case 7:08-cr-00053-GEC   Document 273 Filed 09/28/09   Page 1 of 5   Pageid#:
                                    753
Case 7:08-cr-00053-GEC   Document 273 Filed 09/28/09   Page 2 of 5   Pageid#:
                                    754
Case 7:08-cr-00053-GEC   Document 273 Filed 09/28/09   Page 3 of 5   Pageid#:
                                    755
Case 7:08-cr-00053-GEC   Document 273 Filed 09/28/09   Page 4 of 5   Pageid#:
                                    756
Case 7:08-cr-00053-GEC   Document 273 Filed 09/28/09   Page 5 of 5   Pageid#:
                                    757
